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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                             FORT LAUDERDALE DIVISION
                                  www.flsb.uscourts.gov

In re:                                                              Chapter 7

DAYMARK REALTY ADVISORS, INC.,                                      Case No. 18-23750-SMG
DAYMARK PROPERTIES REALTY, INC., and                                Case No. 18-23751-SMG
DAYMARK RESIDENTIAL MANAGEMENT,                                     Case No. 18-23752-SMG
INC.,
                                                                    (substantively consolidated)
      Debtors.
_____________________________________________/

                 MOTION TO APPROVE SALE OF REMNANT ASSETS
                FREE AND CLEAR OF LIENS, CLAIMS AND INTERESTS

         Chad S. Paiva (the “Trustee”), as Chapter 7 Trustee for Daymark Realty Advisors, Inc.,

Daymark Properties Realty, Inc. and Daymark Residential Management, Inc. (collectively, the

“Debtors”), pursuant to 11 U.S.C. § 363(b) and (f), files this Motion to Approve Sale of Remnant

Assets (the “Motion”), and respectfully states:

                                          Introduction
         1.     On November 4, 2018, each of the Debtors filed voluntary petitions for relief

under Chapter 11 of the Bankruptcy Code. The Debtors’ cases were substantively consolidated

by Order of this Court dated February 2, 2019.

         2.     These cases were converted to chapter 7 proceedings on April 2, 2018, and the

Trustee was thereafter appointed as the Debtors’ Chapter 7 Trustee.

         3.     To date, the Trustee has administered all of the known assets of this estate. The

Trustee recently entered into an Asset Purchase Agreement (the “APA”) with Alpha Assets

Corp. (“Alpha”) all remaining known or unknown assets of the Debtors which have not been

sold, assigned, transferred or otherwise administered by the Trustee (the “Remnant Assets”). A

copy of the APA is attached as Exhibit “A”.
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       4.      The Purchase Price for the Remnant Assets is $10,000.00. Alpha has tendered a

deposit in the amount of $5,000.00, with the balance to be paid within 14 days of the Order

approving this Motion becoming a Final Order.

                                          Relief Requested

       5.      The Trustee seeks to sell the Remnant Assets to Alpha free and clear of liens,

claims and encumbrances pursuant to Section 363(b) and (f) of the Bankruptcy Code. Courts

have held that transactions should be approved under Section 363(b) when (a) they are supported

by the sound business judgment of the Trustee, (b) interested parties are provided with adequate

notice, (c) the sale price is fair and reasonable, and (d) the purchaser is acting in good faith. See

In re Delaware & Hudson Ry. Co., 124 B.R. 169 (D. Del. 1991).

       6.      Moreover, Section 363(f) of the Bankruptcy Code authorizes the Trustee to sell

property of the estate free and clear of any liens, claims or encumbrances if one of the following

is met: (1) applicable non-bankruptcy law permits sale of such property free and clear of such

interest; (2) such entity consents, (3) such interest is a lien and the price at which such property is

to be sold is greater than the aggregate value of all liens on such property, (4) such interest is in

bona fide dispute or (5) such entity could be compelled, in a legal or equitable proceeding, to

accept a money satisfaction of such interest. The language of Section 363(f) is in the disjunctive,

so that a sale free and clear of interests can be approved if any of the aforementioned conditions

is met. In re Heine, 141 B.R. 185, 189 (Bankr. D.S.D. 1992); In re Elliot, 94 B.R. 343, 345

(E.D. Pa. 1988).

       7.      The Trustee submits that the sale of the Remnant Assets to Alpha should be

approved. The Trustee has administered all known assets of the estate and is not aware of any

further assets. Creditors and interested parties will receive notice of this Motion, and have an



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opportunity to make a higher offer by filing a written objection to this Motion within the time set

forth in this Court’s Local Rules and by tendering a deposit in the amount of the proposed

purchase price in cleared funds to the Trustee in advance of the hearing. Based on the foregoing,

the purchase price is reasonable and the Trustee is acting within his sound business judgment.

       8.      The Trustee does not believe that there are any liens, claims or interests

encumbering the Judgments, and the Trustee is not aware of any secured creditor in this case.

Nevertheless, the Trustee requests that the sale be free and clear of any such interest as that is a

requirement of the APA.

       9.      Collectively, these factors demonstrate that the Trustee’s proposed sale of the

Remnant Assets to Alpha is in the best interest of the estate.

       WHEREFORE, the Trustee respectfully requests the entry of an Order (i) approving this

Motion, (ii) authorizing the sale of the Remnant Assets to Alpha, free and clear of liens, claims

and interests, (iii) authorizing the Trustee to take such actions as may be necessary and

appropriate to implement the terms of the sale; and (iv) granting such other and further relief as

the Court deems to be just and proper.

                                              Dated: May 27, 2022.

                                              GENOVESE JOBLOVE & BATTISTA, P.A.
                                              Attorneys for the Trustee
                                              200 East Broward Blvd, Suite 1110
                                              Fort Lauderdale, Florida 33301
                                              Tel: (954) 453-8000
                                              Fax: (954) 453-8010

                                              By:     /s/ Glenn D. Moses
                                                      Glenn D. Moses, Esq.
                                                      Florida Bar No. 174556
                                                      Barry P. Gruher, Esq.
                                                      Florida Bar No. 960993




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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true copy of the foregoing Motion was served on May 27,

2022 via CM/ECF Notification and/or U.S. Mail to all parties on the attached service list.

                                             By:    /s/ Glenn D. Moses
                                                    Glenn D. Moses, Esq.
                                                    Florida Bar No. 174556




                                        SERVICE LIST

Served Via CM/ECF Notification: All parties listed on the Court’s CM/ECF list.

Served Via U.S. Mail

All parties on the attached mailing matrix.




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                    EXHIBIT “A”




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Label Matrix for local noticing             American National Insurance Company                BMC Group Inc.
113C-0                                      Shumaker, Loop & Kendrick, LLP                     3732 West 120 St
Case 18-23750-SMG                           c/o Steven Berman                                  Hawthorne, CA 90250-3202
Southern District of Florida                101 E. Kennedy Blvd,
Fort Lauderdale                             Suite 2800
Fri May 27 09:59:51 EDT 2022                Tampa, FL 33602-5153
Cottonwood Capital Management, Inc.         Cottonwood Capital Property Management II, L       Cottonwood Residential, O.P., LP
c/o Gregg Christensen, Esq.                 c/o Gregg Christensen, Esq.                        c/o Gregg Christensen, Esq.
Old Mill Corporate Center II                Old Mill Corporate Center II                       Old Mill Corporate Center II
6340 South 300 East, Suite 500              6340 South 300 East, Suite 500                     6340 South 300 East, Suite 500
6340 South 300 East, Suite 500              6340 South 300 East, Suite 500                     Salt Lake City, UT 84121
Salt Lake City, UT 84121                    Salt Lake City, UT 84121
Daymark Properties Realty Inc.              Daymark Realty Advisors Inc.                       Daymark Residential Management Inc.
6750 N Andrews Ave                          6750 N. Andrews Ave Suite 200                      6750 N. Andrews Ave.
suite 200                                   Fort Lauderdale, FL 33309-2180                     Suite 200
Fort lauderdale, FL 33309-2180                                                                 Fort lauderdale, FL 33309-2180


Donald S. Singer                            Larry J. Samarron and Ceslynn Regalado             NNN Enterprise Way No. 27, LLC
C/O David W. Langley, Esq.                  c/o Michael S. Hoffman, Esq.                       c/o Shutts & Bowen LLP
8551 W. Sunrise Blvd., Suite 303            909 N Miami Beach Blvd #201                        4301 W. Boy Scout Blvd., Suite 300
Plantation, FL 33322-4007                   N Miami Bch, FL 33162-3712                         Tampa, FL 33607-5716


NW Congress Center Owner, LLC               NW Congress Center, LLC                            Northwood Employees, LP
c/o Andrea S. Hartley, Esq.                 c/o Andrea S. Hartley, Esq.                        c/o Andrea S. Hartley, Esq.
Akerman LLP                                 Akerman LLP                                        Akerman LLP
98 SE 7th Street                            98 SE 7th Street                                   98 SE 7th Street
Suite 1100                                  Suite 1100                                         Suite 1100
Miami, FL 33131-3525                        Miami, FL 33131-3525                               Miami, FL 33131-3525
Northwood Investors, LLC                    Northwood Real Estate Partners TE, LP              Northwood Real Estate Partners, LP
c/o Andrea S. Hartley, Esq.                 c/o Andrea S. Hartley, Esq.                        c/o Andrea S. Hartley, Esq.
Akerman LLP                                 Akerman LLP                                        Akerman LLP
98 SE 7th Street                            98 SE 7th Street                                   98 SE 7th Street
Suite 1100                                  Suite 1100                                         Suite 1100
Miami, FL 33131-3525                        Miami, FL 33131-3525                               Miami, FL 33131-3525
U.S. Securities and Exchange Commission     Atlantic Vue Towers, Inc                           Carole O’Neill Trust
Atlanta Regional Office                     c/o Edwin C. Bliss                                 c/o Carole J. O’Neill
950 East Paces Ferry Road, NE               400 S Pointe Dr Apt 2202                           4754 La Villa Marina Unit F
Suite 900                                   Miami Beach, FL 33139-7361                         Marina Del Rey, CA 90292-7049
Atlanta, GA 30326-1382

Espen Schiefloe                             Grimaldi Jr., William S.                           James Barry Tracton Rev Trust
1153 N. Alhambra Cir.                       290 Vincent Avenue                                 c/o James Barry Tracton
Naples, FL 34103-2526                       Hackensack, NJ 07601-1028                          12700 N Bayshore Dr.
                                                                                               North Miami, FL 33181-2428


Jerome A. & Ardys A. Shinkay Rev Tr         Kelmar Company, LLC                                Larry J. & Ceslynn F Samarron/Regalado
c/o Sean Shinkay                            c/o Chwatt, Mitchell                               1560 San Andreas Ave
3532 N Spring Hill Drive                    300 W 55th St Apt 2V                               San Jose, CA 95118-1055
Janesville, WI 53545-9025                   New York, NY10019-5141


Nineteen West Jefferson, LLC                Nita Coulter Trust dtd 1/27/2006                   Office of the US Trustee
c/o Janet R. Hemley                         c/o Coulter TEE, Nita L.                           51 S.W. 1st Ave.
418 Concord Avenue                          3424 Gromer Terrace                                Suite 1204
Exton, PA 19341-1818                        La Cresenta, CA 91214-1131                         Miami, FL 33130-1614
                                  Case 18-23750-SMG     Doc 791           Filed 05/27/22   Page 11 of 14
Raymond D. & Joan E. Vasquez                   Santic, Inc.                                    Seacrest Apartments of Miami Beach, Inc
c/o Raymond D. & Joan E. Vasquez               c/o Reiss-Petersen, Kristine C.                 c/o Bliss, Ted & Irene
2742 Reflections Ln                            4427 Ranchero Dr.                               1715 West 80th Street
Simi Valley, CA 93065-0241                     Soquel, CA 95073-2320                           Hialeah, FL 33014-3241


Sovereign Capital Management Group, Inc.       The Gary M. & Susana Y. Hansen Trust            Urbanism-Coral Way LLC
750 B Street Suite 2397                        c/o Gary M. & Susana Y. Hansen                  c/o Brian Strelitz
San Diego, CA 92101-8124                       4405 S 189th St                                 1400 NE Miami Gardens Dr Ste 210-A
                                               Seatac,WA 98188-5044                            North Miami Beach, FL 33179-4844


Adam T Kent                                    Barry Mukamal                                   Brett D Lieberman
21309 Tulsa Street                             1000 S Federal Highway #200                     20200 W Dixie Hwy, Suite 905
Chatsworth, CA 91311-1412                      Ft. Lauderdale, FL 33316-1237                   Miami, FL 33180-1926



Brian Strelitz                                 Carole J. O’Neill                               Chad S. Paiva
c/o Michael S. Hoffman, Esq.                   c/o Michael S. Hoffman, Esq.                    trustee.paiva@gmail.com
909 N Miami Beach Blvd #201                    909 N Miami Beach Blvd #201                     6526 S. Kanner Highway, #376
N Miami Bch, FL 33162-3712                     N Miami Bch, FL 33162-3712                      Stuart, FL 34997-6396


Charles Garavaglia                             Daniel Shaeffer                                 Gary and Susana Hansen
2220 Fremont Drive                             c/o Gregg Christensen, Esq.                     c/o Michael S. Hoffman, Esq.
Lake Havasu City, AZ 86406-8315                Old Mill Corporate Center II                    909 N Miami Beach Blvd #201
                                               6340 South 300 East, Suite 500                  N Miami Bch, FL 33162-3712
                                               6340 South 300 East, Suite 500
                                               Salt Lake City, UT 84121
George Lebdeff                                 Henry H Oh                                      James Barry Tracton
2056 Great Highway #3                          550 S Hope St # 1050                            c/o Michael S. Hoffman, Esq.
San Francisco, CA 94116-1067                   Los Angeles, CA 90071-2615                      909 N Miami Beach Blvd #201
                                                                                               N Miami Bch, FL 33162-3712


Janet R. Hemley                                John And Maxine Vetter                          Kenneth Catanzarite
c/o Michael S. Hoffman, Esq.                   190 Hemlock St                                  2331 West Lincoln Avenue
909 N Miami Beach Blvd #201                    Montesano, WA 98563-4714                        Anaheim, CA 92801-5103
N Miami Bch, FL 33162-3712


Kenneth R Palmer                               Kristine C. Reiss-Petersen                      Marc J Rothberg
529 Constitution Dr                            c/o Michael S. Hoffman, Esq.                    5 Richmond Ave
Ephrata, PA 17522-9177                         909 N Miami Beach Blvd #201                     Milford, MA 01757-2436
                                               N Miami Bch, FL 33162-3712


Maria Angela Munoz                             Michael D Kibler                                Mitchell Chwatt
1440 Beaumont Ave #A2-149                      11100 Santa Monica Blvd #360                    c/o Michael S. Hoffman, Esq.
Beaumont, CA 92223-6820                        Los Angeles, CA 90025-3394                      909 N Miami Beach Blvd #201
                                                                                               N Miami Bch, FL 33162-3712


Morgan B. Edelboim Esq.                        Nina Coulter, Trustee                           Paul D. Bernstein
20200 W. Dixie Hwy                             c/o Michael S. Hoffman, Esq.                    Wilson Elser
 Suite 905                                     909 N Miami Beach Blvd #201                     100 SE Second Street
Miami, FL 33180-1926                           N Miami Bch, FL 33162-3712                      Suite 3800
                                                                                               Miami, FL 33131-2126
                                  Case 18-23750-SMG           Doc 791         Filed 05/27/22        Page 12 of 14
Randy Hogan                                          Raymond and Joan Vasquez                             Richard Garrigues
815Pulpit Rock Cir S                                 c/o Michael S. Hoffman, Esq.                         c/o P.W.Kelly Associates, P.A.
Colorado Springs, CO 80918-7046                      909 N Miami Beach Blvd #201                          P.O. Box 331083
                                                     N Miami Beach Blvd, FL 33162-3712                    Miami, FL 33233-1083


Richard J. Tapp                                      Robert And Virginia Hall                             Samuel & Marjorie Anderson
c/o Michael S. Hoffman, Esq.                         251 S Golf Blvd                                      502 Overhill Dr
909 N Miami Beach Blvd #201                          Pompano Beach, FL 33064-3276                         Brandon, FL 33511
N Miami Bch, FL 33162-3712


Sean Shinkay                                         Ted and Irene Bliss                                  Tinamarie Feil
c/o Michael S. Hoffman, Esq.                         c/o Michael S. Hoffman, Esq.                         BMC Group
909 N Miami Beach Blvd #201                          909 N Miami Bch Blvd                                 600 1 Ave
N Miami Bch, FL 33162-3712                           #201                                                 Seattle, WA 98104-2210
                                                     N Miami Beach, FL 33162-3712

Victoria Pennock                                     Wayne Lewis                                          William Carrozza
5104 Fort Mason Dr                                   c/o Michael S. Hoffman, Esq.                         111 SECOND AVE. NE, SUITE 213
Austin, TX 78745-2313                                909 N Miami Beach Blvd #201                          ST. PETERSBURG, FL 33701 United States 33701-
                                                     N Miami Bch, FL 33162-3712


William D Chapman                                    William S. Grimaldi, Jr.
114 Pacific #450                                     c/o Michael S. Hoffman, Esq.
Irvine, CA 92618-3343                                909 N Miami Beach Blvd #201
                                                     N Miami Bch, FL 33162-3712




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)123 North Wacker, LLC                             (u)1600 Barberry Lane 8, LLC                         (u)1600 Barberry Lane 9, LLC




(u)350 Seventh Avenue Associates LP                  (u)Crost Imports, Inc.                               (u)GCL, LLC




(u)Infinity Urban Century, LLC                       (u)NNN 1818 Market Street 13, LLC                    (u)NNN 300 Four Falls 12, LLC




(u)NNN Aventura Harbour 10, LLC                      (u)NNN Aventura Harbour Centre 16, LLC               (u)NNN Capital Fund I, LLC
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(u)NNN Congress Center, LLC                  (u)NNN Four Falls 20, LLC                           (u)NNN Royal 400 12, LLC




(u)Plantations at Haywood 1, LLC             (u)Plantations at Haywood 13, LLC                   (u)Plantations at Haywood 2, LLC




(u)Plantations at Haywood 23, LLC            (u)RRM Enterprises LLC                              (u)Sovereign Capital Management Group, Inc.




(u)Sovereign Strategic Mortgage Fund, LLC    (u)SuvaWinds, Inc.                                  (u)Western Alliance Bank




(u)Willowbrook Apartments LLC                (u)Atlantic Vue Towers, Incc/o Edwin C. Bliss       (d)Daymark Properties Realty, Inc.
                                                                                                 6750 N. Andrews Ave., Suite 200
                                                                                                 Fort Lauderdale, FL 33309-2180



(u)Adrienne Moran                            (d)Brett D Lieberman                                (u)Carl C Holmen
                                             20200 W Dixie Hwy, Suite 905
                                             miami, FL 33180-1926



(u)Daniel P. O’Keefe                         (u)David Corbett                                    (u)Dennis Dierenfield




(u)Dennis A. Rosene                          (u)Donald Adams                                     (u)Edward Henkin




(u)Eleanor M. Reed                           (u)Ellen B Friedman                                 (u)Elsa M. Rosene




(u)Etienne Locoh                             (u)Gail Fortune                                     (u)George Vrakas
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(u)Gerald Berend                         (u)Guy E. Michael                              (u)Harry Katz




(u)Katherine Looper                      (u)Kathryn B. Chidester                        (u)Loretta Mak




(u)Lorraine Capobianco                   (u)Mark Van Mourick                            (u)Mary Wojciechowski




(u)Milton O Brown                        (u)Pat McRoberts                               (u)Paul L Cohen




(u)Richard Carlson                       (u)Rose M Kirby                                (u)Stan Wojciechowski
                                         563




(u)Thomas F Scheidt                      (u)Todd A. Mikles                              (u)Tyrone Wynfield




(u)Vicki J. Dronet                       (u)William B Gilmer                            (u)William E Bump




End of Label Matrix
Mailable recipients    73
Bypassed recipients    63
Total                 136
